     Case 5:24-cv-07885-EJD            Document 31-1         Filed 12/10/24   Page 1 of 20




 1     Alan Butler (SBN 281291)
       butler@epic.org
 2     ELECTRONIC PRIVACY INFORMATION CENTER
       1519 New Hampshire Avenue NW
 3
       Washington, DC 20036
 4     Tel: 202.483.1140

 5     Attorney for Proposed Amicus Curiae
       Electronic Privacy Information Center
 6
                                   UNITED STATES DISTRICT COURT
 7
 8                              NORTHERN DISTRICT OF CALIFORNIA

 9                                           SAN JOSE DIVISION
10    NETCHOICE, LLC, d/b/a NetChoice,                        Case No. 5:24-cv-07885-EJD
11
                                Plaintiff,                    BRIEF OF ELECTRONIC PRIVACY
12                                                            INFORMATION CENTER AS AMICUS
             v.                                               CURIAE IN SUPPORT OF
13                                                            DEFENDANT
      ROB BONTA, ATTORNEY GENERAL OF
14    THE STATE OF CALIFORNIA, in his official                Hearing Date: December 17, 2024
15    capacity,                                               Time: 9:00 a.m.
                                                              Judge: Hon. Edward J. Davila
16                              Defendant.                    Court: Courtroom 4, 5th Floor

17                                                            Action Filed: November 12, 2024
18

19
20
21
22
23
24
25
26
27
28
      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:24-CV-07885-EJD
                                                       -i-
     Case 5:24-cv-07885-EJD                        Document 31-1                    Filed 12/10/24             Page 2 of 20




 1                                                         TABLE OF CONTENTS
 2    Interest of the Amicus Curiae ...................................................................................................... 1

 3    Introduction ................................................................................................................................. 1
 4    Argument ..................................................................................................................................... 2
 5
           I. The addictive feeds provision does not regulate expression and leaves ample room
 6            for companies to organize and personalize feeds ............................................................ 2

 7         II. NetChoice has not shown that the age assurance provision is likely to chill speech ..... 7

 8               A. Reno and Ashcroft do not decide this case but do stress the importance of a
                    timely and well-developed factual record on age assurance ..................................... 7
 9
                 B. Unlike laws enjoined in other states, SB 976 does not require companies to
10                  verify users’ ages, block kids from accessing platforms, or perform age
11                  assurance as a condition of access ............................................................................. 9

12               C. NetChoice’s challenge to the age assurance provision is premature and
                    NetChoice has otherwise failed to build an adequate record................................... 10
13
      Conclusion ................................................................................................................................. 15
14
15
16

17
18

19
20
21
22
23
24
25
26
27
28
      BRIEF OF EPIC AS AMICUS CURIAE                                                                           CASE NO. 5:24-CV-07885-EJD
                                                                             -ii-
     Case 5:24-cv-07885-EJD                     Document 31-1                 Filed 12/10/24              Page 3 of 20




 1                                                   TABLE OF AUTHORITIES

 2    Cases
 3        ACLU v. Mukasey, 534 F.3d 181 (3d Cir. 2008) ....................................................................... 8

 4        ACLU v. Reno, 31 F. Supp. 2d 473 (E.D. Pa. 1999) ................................................................. 8

 5        Ashcroft v. ACLU, 542 U.S. 656 (2004) ................................................................................ 7, 8

 6        Moody v. NetChoice, 144 S. Ct. 2383 (2024) ................................................................ 2, 3, 4, 5

 7        NetChoice, LLC v. Fitch, No. CV 24-170-HSO (BWR),

 8             2024 WL 3276409 (S.D. Miss. July 1, 2024) ................................................................ 9, 10

 9        NetChoice, LLC v. Griffin, No. CV 23-05105,

10             2023 WL 5660155 (W.D. Ark. Aug. 31, 2023) ............................................................ 9, 10

11        NetChoice, LLC v. Reyes, No. CV 23-00911-RJS (CMR),

12             2024 WL 4135626 (D. Utah Sept. 10, 2024) ...................................................................... 9

13        NetChoice, LLC v. Yost, 716 F. Supp. 3d 539 (S.D. Ohio 2024) ........................................ 9, 10

14        Reno v. ACLU, 521 U.S. 844 (1997) ..................................................................................... 7, 8

15    Statutes & Regulations

16      Cal. Civ. Code § 1798.100 ......................................................................................................... 13

17      Cal. Health & Safety Code § 27000.5 (a)(1)................................................................................ 6

18      Cal. Health & Safety Code § 27000.5(a) ..................................................................................... 6

19      Cal. Health & Safety Code § 27000.5(a)(4)................................................................................. 6

20      Cal. Health & Safety Code § 27001(a) ...................................................................................... 10

21      Cal. Health & Safety Code § 27001(b) ...................................................................................... 13

22      Cal. Health & Safety Code § 27006(b) ...................................................................................... 13

23      NY SAFE for Kids Act, N.Y. Gen. Bus. Law §1501(2) (McKinney 2024) .............................. 13

24    Other Authorities

25    Ariel Fox Johnson, U.S. Age Assurance Is Beginning to Come of Age: The Long Path Toward

26      Protecting Children Online and Safeguarding Access to the Internet, Common Sense Media

27      (Sept. 30, 2024) ................................................................................................................. 8, 9, 12

28
      BRIEF OF EPIC AS AMICUS CURIAE                                                                      CASE NO. 5:24-CV-07885-EJD
                                                                        -iii-
     Case 5:24-cv-07885-EJD                     Document 31-1                Filed 12/10/24              Page 4 of 20




 1    Arvind Narayanan, Understanding Social Media Recommendation Algorithms, The Knight First
 2       Amendment Institute at Columbia University (2023) ......................................................... 3, 4, 6
 3    Brett Frischmann & Susan Benesch, Friction-in-Design Regulation as a 21st Century Time,
 4       Place, and Manner Restriction, 25 Yale J. L. & Tech. 376 (2023) .......................................... 12

 5    Cal. Health & Safety Code § 27006(c). ......................................................................................... 14
 6    Electronic Privacy Information Center, Comments to the New York State Attorney General on
 7       the Advance Notice of Proposed Rulemaking for the SAFE for Kids Act (Sept. 30, 2024) .... 14
 8    Electronic Privacy Information Center, Disrupting Data Abuse: Protecting Consumers from
 9       Commercial Surveillance in the Online Ecosystem (2022) ........................................................ 9
10    Facebook, Community Guidelines ................................................................................................... 3
11    Kate Klonick, The Facebook Oversight Board: Creating an Independent Institution to
12       Adjudicate Online Free Expression, 129 Yale L.J. 2418 (2020) ................................................ 3
13    Keach Hagey & Jeff Horwitz, Facebook Tried to Make Its Platform a Healthier Place. It Got
14       Angrier Instead, Wall St. J. (Sep. 15, 2021)................................................................................ 5
15    Meta, Introducing Instagram Teen Accounts: Built-In Protections for Teens, Peace of Mind for
16       Parents (Sep. 17, 2024) ............................................................................................................. 13

17    Meta, Meta Verified (2024) ........................................................................................................... 14
18    N.Y. Off. of Att’y Gen., Advanced Notice of Proposed Rulemaking for the Stop Addictive Feeds

19       Exploitation for Kids Act (Aug. 1, 2024) .................................................................................. 13
20    Nico Grant et al., YouTube Ads May Have Led to Online Tracking of Children, Research Says,
21       N.Y. Times (Aug. 17, 2023) ...................................................................................................... 12
22    Noah Apthorpe, Brett Frischmann & Yan Shvartzsnaider, Online Age Gating: An
23       Interdisciplinary Investigation (Aug. 1, 2024) .................................................................... 11, 12
24    Ravi Iyer, Feed Algorithms Contain both Expressive and Functional Components, USC Neely
25       Center for Ethics and Technology (Dec. 10, 2024) ..................................................................... 4
26    Sam Schechner et al., How Facebook Hobbled Mark Zuckerberg’s Bid to Get America
27       Vaccinated, Wall St. J. (Sep. 17, 2021) ....................................................................................... 5
28
      BRIEF OF EPIC AS AMICUS CURIAE                                                                     CASE NO. 5:24-CV-07885-EJD
                                                                        -iv-
     Case 5:24-cv-07885-EJD                    Document 31-1                 Filed 12/10/24           Page 5 of 20




 1    Sarah Forland, Nat Meysenburg & Erika Solis, Age Verification: The Complicated Effort to
 2       Protect Youth Online, New America Foundation Open Technology Institute (2024) .............. 11
 3    X, About X Premium (2024) .......................................................................................................... 14
 4    YouTube, Community Guidelines ................................................................................................... 3

 5
 6
 7
 8
 9
10
11
12
13
14
15
16

17
18

19
20
21
22
23
24
25
26
27
28
      BRIEF OF EPIC AS AMICUS CURIAE                                                                  CASE NO. 5:24-CV-07885-EJD
                                                                       -v-
     Case 5:24-cv-07885-EJD            Document 31-1          Filed 12/10/24   Page 6 of 20




 1                                INTEREST OF THE AMICUS CURIAE
 2           The Electronic Privacy Information Center (“EPIC”) is a public interest research center
 3    in Washington, D.C., established in 1994 to focus public attention on emerging privacy and
 4    civil liberties issues.1 EPIC regularly participates as amicus in cases concerning the First

 5    Amendment implications of platform regulation. See EPIC, The First Amendment (2024).2
 6                                            INTRODUCTION
 7           The Supreme Court’s decision in Moody v. NetChoice, 144 S. Ct. 2383 (2024), set out a
 8    rigorous standard for First Amendment challenges to platform regulations. Facial challenges
 9    must set out all potential applications of the law, assess the constitutionality of each, and weigh
10    the constitutional applications against the unconstitutional ones. In assessing the
11    constitutionality of each application, courts must insist on specificity. While some platform
12    actions may be expressive, like removing or downranking messages based on a company’s
13    content guidelines, other actions, like curating feeds based on users’ interactions with a site, are
14    not evidently expressive. It is the challenger’s burden to explain what specific activities, by
15    what specific actors, are impacted by a regulation, how those activities are expressive, and how
16    the regulation interferes with that expression.

17           In NetChoice’s hands, though, the Moody decision loses all of its nuance. NetChoice
18    insists, through broken strings of quotations, that the Court held that personalized feeds are

19    protected expression when in fact the Moody Court flatly refused to make such a ruling. The
20    majority were only willing to signal the expressiveness of one kind of curation activity: the
21    enforcement of content moderation policies. Since SB 976 does not interfere with this activity,
22    Moody’s guidance is no aid to NetChoice. In fact, SB 976 regulates exactly the curation activity
23    whose expressiveness the Court met with skepticism: the crunching of user behavioral data to
24    predict what content will keep a user on a platform longer.
25
      1
26      Amicus certifies that no person or entity, other than Amicus’s own staff or counsel, made a
      monetary contribution to the preparation or submission of this brief or authored this brief, in
27    whole or in part.
      2
        https://epic.org/issues/platform-accountability-governance/the-first-amendment-and-platform-
28
      regulation/.

      BRIEF OF EPIC AS AMICUS CURIAE                                           CASE NO. 5:22-CV-07885-EJD
                                                        -1-
     Case 5:24-cv-07885-EJD            Document 31-1         Filed 12/10/24   Page 7 of 20




 1           Instead of specifically arguing how SB 976 interferes with each regulated companies’
 2    expression, NetChoice misconstrues the Act as a ban on personalized feeds. In reality, SB 976
 3    leaves ample room for companies to organize content and personalize feeds on their platforms.
 4    Addictive feeds are simply not necessary for the things people want to do on platforms.

 5           The Moody Court’s insistence on a robust factual record applies with equal force to
 6    NetChoice’s challenge to the Act’s age assurance provision. How age assurance will actually be
 7    implemented matters. SB 976 does not require companies to age gate their entire platforms—
 8    they can, instead, choose to age gate only the regulated features. Any potential chilling effect
 9    will also vary from tool to tool and platform to platform. There are a wide range of age
10    assurance tools available on the market; there are likely to be even more by the time the age
11    assurance provision takes effect in 2027. And any deterrent effect will depend on the platform
12    that uses it—specifically, on the platform’s current data and design practices. Companies that
13    profit from invading users’ privacy cannot say that age assurance, backed by sufficient privacy
14    protections, is likely to deter users. NetChoice also cannot rely on factual findings made over
15    twenty years ago or decisions in cases involving very different statutory requirements.
16    NetChoice must assemble a record on age assurance, and it cannot do this until the Attorney

17    General promulgates regulations on SB 976.
18                                              ARGUMENT

19       I. The addictive feeds provision does not regulate expression and leaves ample room
20          for companies to organize and personalize feeds.

21           In Moody v. NetChoice, 144 S. Ct. 2383 (2024), the Supreme Court signaled that one

22    specific curation practice is expressive: content moderation that reflects human value judgments

23    about the message expressed. SB 976 does not regulate this kind of curation. The Act regulates

24    “addictive feeds”—website features that use user behavioral data to present users with whatever

25    content will boost their usage of a website or platform. This type of curation, called engagement

26    maximization, “respond[s] solely to how users act online—giving them the content they appear

27    to want, without any regard to independent content standards.” Moody, 144 S. Ct. at 2404 n.5.

28    Engagement-maximizing curation does not clearly express any message of the curator, and so

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -2-
     Case 5:24-cv-07885-EJD            Document 31-1         Filed 12/10/24   Page 8 of 20




 1    regulating it does not implicate the First Amendment. SB 976 leaves ample room for companies
 2    to organize and personalize content based on the messages expressed and on user choice.
 3           Content moderation is a company’s enforcement of rules about the types of content it is
 4    willing to host or promote. These rules are typically set out in companies’ content moderation

 5    policies and community guidelines and enforced through teams of human moderators, with
 6    some assistance from algorithmic filtering. See Kate Klonick, The Facebook Oversight Board:
 7    Creating an Independent Institution to Adjudicate Online Free Expression, 129 Yale L.J. 2418,
 8    2423 (2020); e.g., Facebook, Community Guidelines;3 YouTube, Community Guidelines.4 In
 9    Moody, the majority agreed that content moderation activities are expressive because they
10    reflect humans’ value judgments about the message expressed by the content. “When the
11    platforms use their Standards and Guidelines to decide which third-party content those feeds
12    will display, or how the display will be ordered and organized, they are making expressive
13    choices.” Moody, 144 S. Ct. at 2406 (emphasis added). A company that prohibits, say, pro-Nazi
14    posts is expressing its disagreement with the message of those posts, and a law that “direct[s a
15    company] to accommodate messages it would prefer to exclude” infringes on the company’s
16    protected editorial discretion. Id. at 2401.

17           Content moderation is distinct from engagement maximization. Maximizing for
18    engagement means curating content in a way that maximizes the probability that a specific user

19    will interact with a specific piece of content. See Arvind Narayanan, Understanding Social
20    Media Recommendation Algorithms, The Knight First Amendment Institute at Columbia
21    University 20 (2023).5 In contrast to content moderation, which largely depends on human
22    decision making and intervention, engagement optimization is accomplished through machine
23    learning algorithms, called “recommendation algorithms,” which essentially crunch the numbers
24    on what will keep each user on the platform longer. See Ravi Iyer, Feed Algorithms Contain
25
26
      3
        https://www.facebook.com/help/477434105621119.
27    4
        https://www.youtube.com/howyoutubeworks/policies/community-guidelines/.
      5
        https://s3.amazonaws.com/kfai-documents/documents/4a9279c458/Narayanan---
28
      Understanding-Social-Media-Recommendation-Algorithms_1-7.pdf.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -3-
     Case 5:24-cv-07885-EJD            Document 31-1          Filed 12/10/24   Page 9 of 20




 1    both Expressive and Functional Components, USC Neely Center for Ethics and Technology
 2    (Dec. 10, 2024).6 The primary fuel for engagement-maximizing recommender algorithms is user
 3    behavioral data collected through surveillance, not explicit user feedback. See Narayanan,
 4    supra, at 18. This data can include likes, clicks, comments, time spent watching, time spent

 5    lingering, and other indications that a piece of content held a user’s attention. Id. at 18–19; e.g.,
 6    Meta Decl. ¶ 12. The algorithms use this data to construct profiles of users. Profiling a user
 7    enables a company to compare them to other users, showing them media that similar users
 8    engaged with heavily. Narayanan, supra, at 22. Any message—including contradictory ones—
 9    goes, so long as it maximizes the amount of time the user spends on the site.
10           Recognizing the distinction between content moderation and engagement maximization,
11    the majority in Moody set aside the question of whether “feeds whose algorithms respond solely
12    to how users act online—giving them the content they appear to want, without any regard to
13    independent content standards” are expressive. Moody, 144 S. Ct. at 2404 n.5. Justice Barrett,
14    who formed a swing vote for the majority opinion, wrote in her concurrence, “The First
15    Amendment implications . . . might be different” for “a platform’s algorithm [that] just presents
16    automatically to each user whatever the algorithm thinks the user will like—e.g., content similar

17    to posts with which the user previously engaged.” Id. at 2410 (Barrett, J., concurring). And in
18    his concurrence, Justice Alito contrasted newspaper editors’ expressive curation from

19    algorithms that “prioritize content based on factors that the platforms have not revealed and may
20    not even know.” Id. at 2438 (Alito, J., concurring in the judgement).
21           The fact that engagement-maximizing algorithms are inscrutable black boxes whose
22    outputs are determined by machine learning and not human value judgements undermines their
23    expressiveness. Four justices explicitly recognized that the extent to which curation is mediated
24    by black-box algorithms impacts the First Amendment analysis, even when those algorithms are
25    performing content moderation. Justice Barrett wrote in her concurrence that “technology may
26    attenuate the connection between content-moderation actions (e.g., removing posts) and human
27
      6
       https://neely.usc.edu/2024/12/10/algorithms-contain-both-expressive-and-functional-
28
      components/.

      BRIEF OF EPIC AS AMICUS CURIAE                                           CASE NO. 5:22-CV-07885-EJD
                                                        -4-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 10 of 20




 1    beings’ constitutionally protected right” of expression. Id. at 2410 (Barrett, J., concurring). She
 2    noted that “If the AI relies on large language models to determine what is ‘hateful’ and should
 3    be removed, has a human being with First Amendment rights made an inherently expressive
 4    ‘choice . . . not to propound a particular point of view’?” Id. Justice Alito added, “[W]hen AI

 5    algorithms make a decision, even the researchers and programmers creating them don’t really
 6    understand why the models they have built make the decisions they make. Are such decisions
 7    equally expressive as the decisions made by humans?” Id. at 2439 (Alito, J., concurring in the
 8    judgement) (quotation marks and citations omitted). If using algorithms can attenuate the
 9    expressiveness of otherwise-expressive content moderation, the case for the expressiveness of
10    value-agnostic algorithmic engagement maximization is even more dire. If NetChoice wishes to
11    argue that certain companies’ engagement maximizing algorithms produce protected speech,
12    they must reveal how those algorithms work and explain how they are expressive.
13             As it stands, there is nothing to suggest that engagement-maximizing algorithms, on
14    their own, express any message of a company. They do not choose or rank content based on
15    agreement or disagreement with the message expressed, only based on a user’s likelihood of
16    interacting with the media. Perhaps the most damning evidence against the expressiveness of

17    engagement maximization is that platforms’ recommendation algorithms often promote content
18    that violates the company’s guidelines or otherwise undermine their express priorities. See, e.g.,

19    Sam Schechner et al., How Facebook Hobbled Mark Zuckerberg’s Bid to Get America
20    Vaccinated, Wall St. J. (Sep. 17, 2021);7 Keach Hagey & Jeff Horwitz, Facebook Tried to Make
21    Its Platform a Healthier Place. It Got Angrier Instead, Wall St. J. (Sep. 15, 2021).8 How can the
22    recommendation algorithm’s amplification of messages the company says it disagrees with be
23    expressive? This conflict exists precisely because the algorithms choose media for display
24    without regard for the underlying message expressed.
25             SB 976 only regulates companies’ use of engagement-based profiling in their content
26    curation processes, not its content moderation practices. A feed is only addictive if it uses
27
      7
          https://www.wsj.com/articles/facebook-mark-zuckerberg-vaccinated-11631880296.
28    8
          https://www.wsj.com/articles/facebook-algorithm-change-zuckerberg-11631654215.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -5-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 11 of 20




 1    certain personal information about a user, like behavioral data, to decide how content in the
 2    user’s feed is arranged. Cal. Health & Safety Code § 27000.5(a). Regulating the use of personal
 3    data in the feed has no impact on companies’ ability to prioritize, deprioritize, or block content
 4    that violates their policies. Because the Act only regulates non-expressive platform functions,

 5    and not expressive content moderation activities, it does not implicate covered entities’ First
 6    Amendment rights.
 7           The Act also leaves companies with ample room to organize and personalize users’
 8    feeds, despite NetChoice and its declarants repeated assertions otherwise. See Mot. at 13, 21
 9    (“the Act restricts users’ access to all personalized feeds”); Davis Del. ¶ 58; Vitech Decl. ¶ 40;
10    Cleland Decl. ¶ 10. The Act explicitly allows companies to provide users with personalized
11    feeds that reflect the users’ own decisions about what authors, creators, and posters to follow. §
12    27000.5(a)(4). This type of personalization was the prevailing model of feed design until just a
13    few years ago. See Narayanan, supra, at 9, 40 (showing that major companies moved toward
14    algorithmic content selection and sorting between 2016 and 2022). The Act also does not
15    prohibit companies from organizing feeds based on their value judgements or on the quality of
16    content. Companies could provide curations of the best cat videos, or trending content, or

17    breaking news. Instead of organizing this content based on timeliness, i.e., in reverse
18    chronological order, companies can order content based on media-specific metrics like

19    popularity, virality, and controversiality because these metrics are based on aggregate data and
20    not necessarily information “persistently associated with the user” and “concern[ing] the user’s
21    previous interactions with media.” § 27000.5 (a)(1). They could provide users with multiple
22    feed options that they can toggle between, which many covered entities already do, like X’s
23    “Following” and “For you.” Companies can also allow users to combine the companies’ and
24    other posters’ curations into personalized feeds. See § 27000.5(a)(4) (wherein the company
25    would be considered a “poster”). In short, the “addictive” aspect of addictive feeds is just not
26    necessary for companies to organize or personalize content on their platforms.
27
28

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -6-
     Case 5:24-cv-07885-EJD            Document 31-1      Filed 12/10/24      Page 12 of 20




 1       II. NetChoice has not shown that the age assurance provision is likely to chill speech.
 2           Moody’s holding applies with equal force to NetChoice’s challenge of SB 976’s age
 3    assurance provision. It is not enough for NetChoice to rely on decades-old factual findings, to
 4    analogize SB 976 to very different laws, or to make assumptions about how companies will

 5    implement SB 976. NetChoice must instead develop a factual record specific to SB 976’s age
 6    assurance provision, which NetChoice cannot do until the Attorney General has published his
 7    regulations. NetChoice’s challenge to SB 976’s age assurance provision is thus premature.
 8               A. Reno and Ashcroft do not decide this case but do stress the importance of a
 9                  timely and well-developed factual record on age assurance.

10           Reno v. ACLU, 521 U.S. 844 (1997) and Ashcroft v. ACLU, 542 U.S. 656 (2004) did not
11    announce a categorical rule that age assurance is unconstitutional. The Court’s First
12    Amendment analyses in those cases relied heavily on extensive factual findings about the state
13    of age assurance technology at the time they were litigated. Age assurance technologies—and
14    the internet itself—have changed dramatically since Reno and Ashcroft were decided.
15    NetChoice cannot rely on decades-old factual findings from these cases—it must build a factual
16    record that reflects the current state of technology.
17           Reno only tangentially analyzed the constitutionality of age verification, and the Court
18    relied on the trial court’s extensive factual findings in its analysis. Reno’s central holding was
19    that the Communications Decency Act (“CDA”), which broadly criminalized all transmissions
20    of obscene or indecent materials to kids, was an unconstitutional content-based restriction on
21    speech. Reno, 521 U.S. at 859–60. The Reno Court briefly addressed age verification because
22    the CDA provided a defense for websites that used “effective” age verification tools to
23    distinguish between kids and adults, but, following a trial on the merits, the district court found
24    that there was no effective method in existence to prevent minors from accessing the proscribed
25    communications without also denying access to adults. Id. at 876. The district court also found
26    that there was no effective way to determine the age of users accessing materials in emails,
27    listservs, newsgroups, and chat rooms. Id. Further, as a practical matter, the age assurance
28    mechanism created a huge technological and financial burden that few websites could bear. Id.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -7-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 13 of 20




 1    at 877. For these reasons, few if any websites would actually implement age assurance, let alone
 2    in a way that would protect them in case of a lawsuit, and so the affirmative defense was
 3    “illusory” and could not save the CDA. Id. at 881.
 4           The Ashcroft Court relied on extensive factual findings made by the district court and

 5    also insisted that the lower court update their findings on remand. Ashcroft, 542 U.S. at 672.
 6    The district court in the case had found that strict scrutiny should apply to the Child Online
 7    Protection Act’s age verification requirement because, at the time, “the implementation of credit
 8    card or adult verification screens in front of material that is harmful to minors may deter [adult]
 9    users from accessing such materials.” ACLU v. Reno, 31 F. Supp. 2d 473, 495 (E.D. Pa. 1999).
10    The government did not dispute this finding on appeal. Ashcroft, 524 U.S. at 665. But the Court
11    feared that technology had changed enough over the five years between the district court’s fact-
12    finding and the Supreme Court’s review to render the district court’s findings obsolete, and let
13    the injunction stand on remand in part to allow the district court to engage in new factfinding.
14    Id. at 671–72. The Court explained “the factual record [did] not reflect current technological
15    reality—a serious flaw in any case involving the Internet.” Id. The Third Circuit ultimately
16    upheld the injunction based on the state of technology at the time. ACLU v. Mukasey, 534 F.3d

17    181, 196 (3d Cir. 2008).
18           If a five-year-old record was considered out of date at the time of Ashcroft, then the

19    twenty-or-so year-old factual determinations relied upon in Reno, Ashcroft, and Mukasey are
20    downright ancient. See Ariel Fox Johnson, U.S. Age Assurance Is Beginning to Come of Age:
21    The Long Path Toward Protecting Children Online and Safeguarding Access to the Internet,
22    Common Sense Media 20 (Sept. 30, 2024).9 There is a much broader range of tools available to
23    estimate age today than when those cases were decided, and SB 976 gives the Attorney General
24    broad latitude to prescribe age assurance tools that don’t verify age with certainty and that
25    provide greater privacy protections than those available twenty years ago.
26           The internet of today is also very different than the internet at the time these cases were
27
      9
       https://www.commonsensemedia.org/sites/default/files/featured-content/files/2024-us-age-
28
      assurance-white-paper_final.pdf.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -8-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 14 of 20




 1    litigated. Back then, surfing the internet was a largely anonymous endeavor. Today, people are
 2    surveilled as a matter of course when online, thanks in large part to companies in whose name
 3    NetChoice is challenging SB 976, like Google and Meta. These companies make their billions
 4    by tracking users’ every interaction with their platforms, spying on them across the internet, and

 5    creating intricate profiles of users that could be used to identify them. See Electronic Privacy
 6    Information Center, Disrupting Data Abuse: Protecting Consumers from Commercial
 7    Surveillance in the Online Ecosystem 36–38, 61–62 (2022).10 Age assurance, backed by proper
 8    privacy protections, would be less invasive than the data practices these companies currently
 9    employ.
10               B. Unlike laws enjoined in other states, SB 976 does not require companies to
                    verify users’ ages, block kids from accessing platforms, or perform age
11                  assurance as a condition of access.
12           NetChoice relies heavily on decisions enjoining social media laws that bear little

13    resemblance to SB 976. Those laws require companies to verify the ages of users, meaning that

14    the companies need to have a very high certainty of a user’s age before they can access the

15    service. See, e.g., NetChoice, LLC v. Reyes, No. CV 23-00911-RJS (CMR), 2024 WL 4135626,

16    at *3 (D. Utah Sept. 10, 2024), appeal docketed, No. 24-4100 (10th Cir. Oct. 11, 2024);

17    NetChoice, LLC v. Fitch, No. CV 24-170-HSO (BWR), 2024 WL 3276409, at *1–*2 (S.D.

18    Miss. July 1, 2024), appeal docketed, No. 24-60341 (5th Cir. July 5, 2024); NetChoice, LLC v.

19    Yost, 716 F. Supp. 3d 539, 547 (S.D. Ohio 2024); NetChoice, LLC v. Griffin, No. CV 23-05105,

20    2023 WL 5660155, at *1, *3 (W.D. Ark. Aug. 31, 2023). SB 976 involves “age assurance,” a

21    much broader category of age determination techniques that estimate age to varying levels of

22    certainty. Fox Johnson, supra, at 5–11. Techniques that estimate age to a lower level of

23    certainty often do not require the same level of data collection and processing as age verification

24    techniques, and so they do not present the same privacy, security, or access risks.

25           Many of the cases NetChoice relies upon also involve laws that block minors from

26    accessing entire social media platforms, and thus implicate minors’ First Amendment right to

27
      10
        https://epic.org/wp-content/uploads/2022/12/EPIC-FTC-commercial-surveillance-ANPRM-
28
      comments-Nov2022.pdf.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -9-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 15 of 20




 1    access content on those platforms. E.g., Fitch, 2024 WL 3276409, at *1-*2; Yost, 716 F. Supp.
 2    3d at 546; Griffin, 2023 WL 5660155, at *1. SB 976 does not require companies to bar minors
 3    from accessing their platforms: it only requires companies to turn off or limit certain harmful
 4    features. § 27000.5(a). Because these features are not protected speech, preventing minors from

 5    accessing them without parental consent does not impact minors’ First Amendment rights.
 6    Minors are still able to access all content on regulated platforms as well as on any feed that
 7    doesn’t surveil and profile them.
 8           SB 976 also does not require companies to force users to go through the age assurance
 9    process before accessing the company’s platform. § 27001(a). Instead, under SB 976,
10    companies could make the rules for minors the default for all users and only estimate a user’s
11    age if the user wants to change one of these default settings. In other words, covered entities can
12    age gate the regulated features and not their platforms. Companies could, e.g., turn addictive
13    feeds off for all users by default and only require users who wish to turn these features on to go
14    through the age assurance process. Assuming the age assurance tool a company uses actually
15    does impede users’ access to the gated feature, the impact would only be to impede users’
16    access to addictive feeds, not to the platform as a whole. See id. Since addictive feeds are not

17    protected speech, implementing age assurance in this way would not have any impact on users’
18    (or companies’) First Amendment rights. Companies would be free to provide any other feed to

19    users, regardless of age, and users would be free to access all content and non-addictive feeds
20    on the platform, without the need to undergo age assurance.
21               C. NetChoice’s challenge to the age assurance provision is premature and
22                  NetChoice has otherwise failed to build an adequate record.

23           Determining whether age assurance is likely to deter users from accessing protected

24    speech is a fact-intensive inquiry that must be supported by a robust factual record. Different

25    age assurance tools carry different privacy risks. Any deterrent effect of age assurance will also

26    vary from covered entity to covered entity, depending on their implementation strategy and their

27    current data and design practices. See Sarah Forland, Nat Meysenburg & Erika Solis, Age

28    Verification: The Complicated Effort to Protect Youth Online, New America Foundation Open

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -10-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24      Page 16 of 20




 1    Technology Institute 11-12 (2024).11 Consequently, in evaluating a sweeping challenge like
 2    NetChoice’s, the court must consider, for each specific age assurance tool allowed under the
 3    law, and each regulated entity, the privacy risks and access burdens posed by the specific tool
 4    the company plans to use, how the law mitigates or enhances these risks, and whether use of the

 5    tool on the company’s platform is actually likely to chill users’ speech.
 6           This Court cannot decide whether SB 976’s age assurance provision chills access to
 7    speech because NetChoice has not assembled the record necessary to evaluate its claims.
 8    Indeed, it will be impossible for NetChoice to assemble such a record until after the Attorney
 9    General promulgates rules to implement the Act’s age assurance requirement. Until then, it is
10    not clear which age assurance tools are permissible under SB 976. Because age assurance
11    technology is rapidly evolving, it is possible that the tools the Attorney General approves have
12    not been released yet. It is also not clear how the Attorney General will use regulations to
13    address potential privacy, security, access, and disparate impact concerns.
14           To properly evaluate the impact of SB 976’s age assurance provision, the parties need to
15    establish the full range of age assurance tools companies may use to comply with the law. Not
16    all age assurance tools pose the same privacy and security risks to users. Id. The risks will

17    depend on the specific technique used to estimate age and the data practices of the companies
18    involved in the age assurance process. See Noah Apthorpe, Brett Frischmann & Yan

19    Shvartzsnaider, Online Age Gating: An Interdisciplinary Investigation 16–20 (Aug. 1, 2024).12
20    Some techniques involve higher risks because they involve collecting sensitive personal
21    information, like driver’s licenses or credit cards. But some techniques may only require users
22    to provide a photograph or their email address, which users routinely provide to entities
23    regulated by SB 976. How a tool actually works is important, and broad analogies are not
24    helpful. For example, biometric age estimation should not be conflated with biometric
25    identification. Biometric age estimation tools do not generally create biometric identifiers of
26
27    11
         https://www.newamerica.org/oti/reports/age-verification-the-complicated-effort-to-protect-
      youth-online/.
28    12
         https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4937328.

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -11-
     Case 5:24-cv-07885-EJD            Document 31-1      Filed 12/10/24      Page 17 of 20




 1    users and so carry much lower privacy risks than facial recognition technology used to identify
 2    people. Id. at 21–22.
 3             The data practices of the company providing the age assurance tool (if it is a third-party
 4    vendor) and the data practices of the covered entity can also increase or decrease privacy and

 5    data security risks. Companies that practice data minimization—collecting, processing, and
 6    retaining the minimum amount of information necessary to estimate whether a user is a minor—
 7    are more privacy protective than those companies that collect more than necessary. Tools that
 8    process and store users’ personal information on users’ devices or in their browsers are also
 9    more privacy-protective than tools that process and store information on the company’s remote
10    servers. See Fox Johnson, supra, at 10. Tools that transmit age determinations with privacy-
11    protective technology like zero-knowledge proofs minimize risks to users, while tools that
12    transmit users’ identifying information in a way that allows them to be linked to their internet
13    activities increase risks. Apthorpe et al., supra, at 22–25.
14             Similarly, not all age assurance tools will create the same barriers to use, what
15    technologists refer to as “friction.” See Brett Frischmann & Susan Benesch, Friction-in-Design
16    Regulation as a 21st Century Time, Place, and Manner Restriction, 25 Yale J. L. & Tech. 376,

17    379 (2023). The difficulty of using an age assurance tool is likely to vary from user to user, and
18    companies can mitigate the burden by providing users with a menu of options for age assurance.

19    But some tools would be nearly frictionless because they would be run in the background. For
20    example, some companies are likely already able to estimate the age of users using existing
21    data. Companies like Meta and Google, whose platforms have been in existence for many years,
22    could use account age as a first pass on estimating users’ ages. Someone who joined Gmail or
23    Facebook before 2010 is highly unlikely to be a minor. Additionally, companies that estimate
24    the age of users to serve them ads should be able to use those estimates to comply with SB 976.
25    See Nico Grant et al., YouTube Ads May Have Led to Online Tracking of Children, Research
26    Says, N.Y. Times (Aug. 17, 2023).13 Meta is also developing ways to proactively identify
27
28    13
           https://www.nytimes.com/2023/08/17/technology/youtube-google-children-privacy.html.

      BRIEF OF EPIC AS AMICUS CURIAE                                           CASE NO. 5:22-CV-07885-EJD
                                                       -12-
     Case 5:24-cv-07885-EJD            Document 31-1        Filed 12/10/24      Page 18 of 20




 1    accounts that belong to teens that would run in the background and thus be invisible to users.
 2    See Meta, Introducing Instagram Teen Accounts: Built-In Protections for Teens, Peace of Mind
 3    for Parents (Sep. 17, 2024);14 see also Davis Decl. ¶ 36. Users flagged by this process would be
 4    labeled as teens and given the option to verify their age to switch to an adult account. The

 5    Attorney General could encourage other companies to develop similar procedures, using low- or
 6    no-friction methods to label users as likely minors or likely not minors and require affirmative
 7    age assurance only when an account is flagged as likely belonging to a minor.
 8              Protections provided by law can also mitigate the privacy, security, and access burdens
 9    from age assurance. SB 976’s requirements that companies delete the personal information used
10    for age assurance immediately and not use the data for other purposes greatly reduce the privacy
11    and security risks to users. § 27001(b). If covered entities comply with the law, sensitive
12    personal information like people’s driver’s licenses, credit cards, and other identifying
13    information would not be at risk of theft because they would only be used to determine whether
14    the user is a minor and then immediately deleted. Californians are also protected by the
15    California Consumer Privacy Act. Cal. Civ. Code § 1798.100.
16              The Attorney General can also regulate age assurance through rulemaking. See Cal.

17    Health & Safety Code § 27006(b). The New York Attorney General has already begun
18    rulemaking to implement a very similar law, NY SAFE for Kids Act, N.Y. Gen. Bus. Law

19    §1501(2) (McKinney 2024), and the breadth of that rulemaking is instructive, N.Y. Off. of Att’y
20    Gen., Advanced Notice of Proposed Rulemaking for the Stop Addictive Feeds Exploitation for
21    Kids Act 4-7 (Aug. 1, 2024).15 The Attorney General’s regulations regarding age assurance can
22    keep pace with emerging technology, build on the Act’s privacy and security protections,
23    prioritize tools and vendors that are more privacy protective, require companies to give users a
24    menu of choices for age assurance, require routine disclosures about age assurance data
25    practices, and require other trust-enhancing steps from companies. See Electronic Privacy
26    Information Center, Comments to the New York State Attorney General on the Advance Notice
27
      14
           https://about.fb.com/news/2024/09/instagram-teen-accounts/.
28    15
           https://ag.ny.gov/sites/default/files/2024-08/safe-forkidsact.pdf.

      BRIEF OF EPIC AS AMICUS CURIAE                                            CASE NO. 5:22-CV-07885-EJD
                                                        -13-
     Case 5:24-cv-07885-EJD            Document 31-1      Filed 12/10/24      Page 19 of 20




 1    of Proposed Rulemaking for the SAFE for Kids Act 8–21 (Sept. 30, 2024).16 SB 976 also
 2    explicitly requires the Attorney General to “solicit public comment regarding the impact that
 3    any regulation might have based on the nondiscrimination characteristics” set forth in state and
 4    federal law, which means that the Attorney General’s regulations must consider potential

 5    disparate impacts on people of color, immigrants, people with disabilities, and the LBGTQ+
 6    community. Cal. Health & Safety Code § 27006(c).
 7           Finally, the privacy, security, and access burdens introduced by an age assurance tool
 8    cannot be evaluated in isolation. Instead, courts must consider the impact of each age assurance
 9    tool on each covered entity’s platform. If a platform provides users with a truly anonymous
10    browsing experience—no tracking, no profiling, no selling or disclosing of their data to third
11    parties—and an age assurance tool would significantly deter users from accessing protected
12    speech on the platform, then that tool may chill users’ access to protected speech on that
13    specific platform.17 But if a website already requires users to sign in, to use their real names, or
14    to provide payment or other personal information, the calculus would be different, because these
15    websites already require users to jump through hoops or provide personal information to access
16    services. The extent to which covered entities already provide age assurance or identity services

17    is also telling—namely, that age assurance may not significantly deter user access. Indeed, some
18    of the companies challenging SB 976 require users to pay for identity services, signaling that

19    many users are more than willing to provide these companies with the information necessary to
20    estimate their ages. Meta, Meta Verified (2024);18 X, About X Premium (2024).19
21           Importantly, companies that track their users, assemble profiles about them, or sell or
22
23    16
         https://epic.org/wp-content/uploads/2024/10/EPIC-Comments_NY-SAFE-For-Kids-Act.pdf.
      17
         Dreamwidth claims to be in this position. Paolucci Decl. ¶¶ 17–18. But it is not at all clear the
24    company is a covered entity. The only feature of its website that its declarant thinks might
25    qualify as an addictive feed very likely does not—it only uses information about the creators a
      user follows to construct the feed, precisely what Cal. Health & Safety Code § 27000.5(a)(4)
26    allows. Paolucci Decl. ¶ 12. Even if this feed were an addictive feed, it does not appear to be a
      “significant part of the service,” and so Dreamwidth is unlikely to be considered an “addictive
27    internet-based service or application.” Cal. Health & Safety Code § 27000.5(b)(1).
      18
         https://about.meta.com/technologies/meta-verified.
28    19
         https://help.x.com/en/using-x/x-premium.

      BRIEF OF EPIC AS AMICUS CURIAE                                           CASE NO. 5:22-CV-07885-EJD
                                                       -14-
     Case 5:24-cv-07885-EJD            Document 31-1     Filed 12/10/24       Page 20 of 20




 1    share their data with third parties for advertising or other purposes do not provide their users
 2    with anonymous experiences, and it is unclear that age assurance would deter users from using
 3    these platforms. To the extent that these companies fear that users would not trust them with
 4    their personal information for age assurance purposes, the companies should change their own

 5    business practices to increase user trust, and not use a problem they created to get out of
 6    common-sense regulation.
 7                                             CONCLUSION
 8           For the foregoing reasons, Amicus ask this Court to deny Plaintiff’s request for a
 9    preliminary injunction.
10
      Dated: December 10, 2024                      Respectfully submitted,
11
                                                    By: /s/ Alan Butler
12
13                                                  Alan Butler (SBN 281291)
                                                    butler@epic.org
14                                                  ELECTRONIC PRIVACY INFORMATION CENTER
                                                    1519 New Hampshire Avenue NW
15                                                  Washington, DC 20036
16                                                  Tel: 202.483.1140

17                                                  Attorney for Proposed Amicus Curiae Electronic
                                                    Privacy Information Center
18

19
20
21
22
23
24
25
26
27
28

      BRIEF OF EPIC AS AMICUS CURIAE                                          CASE NO. 5:22-CV-07885-EJD
                                                       -15-
